                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI

Sentencing Minute Sheet for the Honorable Stephen R. Bough

UNITED STATES OF AMERICA                                Case No: 23-03024-01-CR-S-SRB
vs.                                                     Date: September 19, 2023
DENNIS CLEVELAND
Plaintiff Counsel:                                    Defendant Counsel:
         Patrick Carney                               Jason Coatney
         Time Commenced: 8:56 a.m.                    Time Terminated: 10:00 a.m.

Court orally rules the objections to the PSR as set forth on the record. The Government is allowed to
withdraw their portion of the plea agreement as set forth on the record.

Total Offense Level: 22; Criminal History Category: I; Imprisonment Range: 41-51 mos.; Supervised
Release Range: 1-3 yrs. To Count 1 and 1 year to Count 2 to run concurrent; Fine Range: $15,000-
$150,00; SA: $100; Restitution: N/A.

The Defendant is sentenced to the Two-Count Information.

INCARCERATION:
X       The Court hereby orders the defendant to serve the following term of incarceration with the FBP.
        24 months to Count 1 & 2 to run concurrently.
X       Defendant is remanded to custody.

SUPERVISED RELEASE:
X      The Court hereby orders the defendant to serve the following term of Supervised Release.
       3 years to Count 1 and 1 year to Count 2 to run concurrently.
SPECIAL CONDTIONS OF SUPERVISED RELEASE:
X       See J&C for special conditions of Supervised Release.

FINE:
X     $250,000.00 to Count 1 and $5,000.00 to Count 2.

RESTITUTION:
X     N/A

SPECIAL ASSESSMENT:
X     The Court imposes the following Special Assessment: $100

X       The Court advises the Defendant of their right to appeal.


Court Reporter: Gayle Wambolt                                   Sara Borneman, Courtroom Deputy




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